                  EXHIBIT C




Case 5:19-cv-00475-BO   Document 58-3   Filed 02/12/21   Page 1 of 19
                     IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

 JASON WILLIAMS,
                                                         Case No. 5:19-cv-00475-BO
        Plaintiff,
                                                 DEFENDANT AT&T MOBILITY
 vs.                                           LLC’S ANSWERS AND OBJECTIONS
                                                 TO PLAINTIFF’S FIRST SET OF
 AT&T MOBILITY LLC,
                                               REQUESTS FOR PRODUCTION OF
        Defendant.                               DOCUMENTS TO DEFENDANT


       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and Rules

26.1 and 34.1 of Local Rules of the Eastern District of North Carolina, Defendant

AT&T Mobility LLC (“AT&T”), acting by and through its undersigned counsel, hereby

serves its Objections and Responses to Plaintiff Jason Williams’ First Set of Requests

for Production of Documents to Defendant (the “Discovery Requests”).

                OBJECTIONS APPLICABLE TO ALL REQUESTS

       1.     AT&T objects to each request that seeks the production of information

or material that is subject to any applicable privilege.

       2.     AT&T objects to each request that seeks the production of information

or material that is protected by the right to privacy.

       3.     AT&T objects to each request that seeks the production of information

or material that constitutes confidential, proprietary and/or trade secret information.

       4.     AT&T objects to each request, instruction, and definition that seeks to

alter the permissible scope of discovery under, or impose obligations upon AT&T that

are inconsistent with, the Federal Rules of Civil Procedure.

                                           1


       Case 5:19-cv-00475-BO     Document 58-3      Filed 02/12/21   Page 2 of 19
      5.     AT&T objects to each request seeking “any” or “all” documents when all

relevant facts can be obtained from fewer than “any” and “all” documents, or when

AT&T could not identify “any” and “all” documents pursuant to a reasonable search.

      6.     AT&T objects to the definition of “you,” “your,” and “Defendant” as vague

and overbroad. AT&T will only respond on behalf of AT&T Mobility LLC, and will

provide only information that is within AT&T Mobility LLC’s possession, custody, or

control, and is reasonably available to AT&T Mobility LLC.

               SPECIFIC RESPONSES AND OBJECTIONS TO
                  PLAINTIFF’S DISCOVERY REQUESTS

      1.     All Documents Concerning Communications between: (1) Plaintiff, or
any person purporting to be or to act on behalf of Plaintiff, or any person purporting
to have authority to access or modify any information concerning the Williams
Account(s), and: (2) AT&T.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects that the request is overly broad

and seeks information not relevant to the incidents at issue, insofar as it requests

information about every communication AT&T had with Mr. Williams since the

inception of Mr. Williams’s AT&T account, which Mr. Williams contends was twenty

years ago “in the year 2000.” See Plaintiff’s First Requests for Production, Request

No. 2. The vast majority of communications over that twenty-year period are not

relevant to the claims or defenses in this matter and the burden of identifying and

                                          2


     Case 5:19-cv-00475-BO      Document 58-3     Filed 02/12/21   Page 3 of 19
producing such materials is not proportional to the needs of this case and would be

unduly burdensome.

      Subject to and without waiving its objections, AT&T will produce account notes

for Mr. Williams’s account.



      2.     All Documents and Communications Concerning the Williams
Account(s) from the date of its creation, which is upon information and belief in the
year 2000, until the date of this request, including Communications between and
amongst employees, executives, managers contractors, and other agents of AT&T,
and any Communications with third parties Concerning the Williams Account(s).

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects that the request is overly broad

and seeks vast amounts of irrelevant materials. The vast majority of communications

and documents regarding Mr. Williams’s account since its inception are not relevant

to the claims or defenses in this matter and the burden of identifying and producing

such materials is not proportional to the needs of this case and would be unduly

burdensome. AT&T also objects to this request on the basis that the request seeks

materials protected by attorney-client and/or attorney work product privileges.

      Subject to and without waiving its objections, AT&T will produce account notes

for Mr. Williams’s account and agreements between Mr. Williams and AT&T.




                                         3


     Case 5:19-cv-00475-BO      Document 58-3     Filed 02/12/21   Page 4 of 19
      3.     All Documents and Communications Concerning any actual or
attempted changes to the SIM Card(s) associated with the Williams Account(s),
including the seven SIM Swaps described in the Complaint.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T also objects to this request on the basis that the

request seeks materials protected by attorney-client and/or attorney work product

privileges.

      Subject to and without waiving its objections, AT&T will produce account notes

for Mr. Williams’s account.



      4.    All Documents and Communications Concerning any alerts, account
notes, or other information added to AT&T’s records Concerning the Williams
Account(s).

      RESPONSE: AT&T objects to this request as duplicative of Request No. 2.

AT&T hereby incorporates and restates its response to Request No. 2.


       5.     All Documents and Communications Concerning any audit trails,
electronic logs, and other devices or methods that track, catalogue, note, record, or
otherwise contain information Concerning the Williams Account(s).

      RESPONSE: AT&T objects to this request on the grounds that the request is

vague and ambiguous as to the terms “audit trails”, “electronic logs, “and other

devices or methods that track, catalogue, note and record”. AT&T also objects to this

request as lacking a reasonable temporal limitation. The complaint alleges the
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      Case 5:19-cv-00475-BO     Document 58-3     Filed 02/12/21   Page 5 of 19
incidents underlying the claims in this matter occurred “between November 2018 and

February 2019” [Dkt. 2 ¶ 20], and AT&T’s response and production of documents will

therefore be limited to information relevant to that time period. AT&T also objects

to this request on the basis that the request seeks materials protected by attorney-

client and/or attorney work product privileges.

      Subject to and without waiving its objections, AT&T will produce account notes

for Mr. Williams’s account and Device Life Cycle tracking documents that AT&T can

identify in its possession, custody, or control pursuant to a reasonable search.



        6.     All Document and Communications Concerning any employment files
for each of the individuals You identify in response to Plaintiff’s First Interrogatories
1, 2, 6, or 7.

      RESPONSE:        AT&T objects to this request as overly broad and seeking

irrelevant information, as the only employees who may have information relevant to

the issues in this case are those employees who Mr. Williams alleges executed a SIM

change without his permission, and only one of those individuals was employed by

AT&T. AT&T further objects that the request seeks information not in AT&T’s

possession, as AT&T does not maintain employment files for individuals who are not

AT&T employees. AT&T further objects that the request seeks materials and

information protected by the privacy right of third party subscribers. AT&T also

objects to this request on the basis that the request seeks materials protected by

attorney-client and/or attorney work product privileges.




                                           5


     Case 5:19-cv-00475-BO       Document 58-3      Filed 02/12/21    Page 6 of 19
      Subject to and without waiving its objections, AT&T will produce non-

privileged materials from the employee file of Sydney Hancock, to the extent such

materials are in AT&T’s possession and can be located pursuant to a reasonable

search.



     7.     All Documents and Communications Concerning SIM Swapping, from
January 1, 2007 to the date of this request.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects to the request for all “Documents

and Communications Concerning SIM Swapping” is vague and ambiguous, as overly

broad and, as worded, encompassing materials that may relate solely to other AT&T

subscribers, contain the protected CPNI of other AT&T subscribers, and concern

incidents or occurrences that have no relevance to or bearing upon the claims or

defenses in this case. AT&T further objects because the requested information is

protected against disclosure by applicable federal and state law and authorities,

including by not limited to the Federal Communications Act, 47 U.S.C. § 222, the

Stored Communications Act, 18 U.S.C. § 2707, and the Electronic Communications

Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further objects that the request

seeks materials protected by the privacy right of third party subscribers. AT&T

further objects that the request seeks materials protected by attorney-client and/or
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     Case 5:19-cv-00475-BO     Document 58-3     Filed 02/12/21   Page 7 of 19
attorney work product privileges. AT&T further objects that the request seeks the

production of information or material that constitutes confidential, proprietary

and/or trade secret information.

      Subject to and without waiving its objections, AT&T will produce non-

privileged documents concerning the SIM swapping incidents affecting Mr. Williams

alleged in the complaint, and AT&T’s policy documents regarding SIM changes and

the prevention of unauthorized access to subscriber accounts, to the extent such

documents are in AT&T’s possession and can be located pursuant to a reasonable

search.



      8.       All Documents and Communications Concerning AT&T’s policies,
procedures, internal controls, training, or other information Concerning SIM
Swapping, including information Concerning AT&T’s actual, proposed, or attempted
measures to identify, prevent, protect against, investigate, troubleshoot, ameliorate,
resolve, fix, respond to, or otherwise address SIM Swapping, from January 1, 2007 to
the date of this request.

      RESPONSE: AT&T objects to this request as duplicative of Request No. 7.

AT&T further objects to this request as lacking a reasonable temporal limitation. The

complaint alleges the incidents underlying the claims in this matter occurred

“between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s response

and production of documents will therefore be limited to information relevant to that

time period. AT&T further objects to the request as vague and ambiguous with

respect to its requests for materials concerning “other information Concerning SIM

Swapping,” as AT&T has no reasonable means to identify what other information the

request is seeking. AT&T also objects to this request, as worded, as encompassing
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     Case 5:19-cv-00475-BO         Document 58-3   Filed 02/12/21   Page 8 of 19
materials that may relate solely to other AT&T subscribers, contain the protected

CPNI of other AT&T subscribers, and concern incidents or occurrences that have no

relevance to or bearing upon the claims or defenses in this case. AT&T further objects

because the requested information is protected against disclosure by applicable

federal and state law and authorities, including by not limited to the Federal

Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. §

2707, and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et

seq. AT&T further objects that the request seeks materials protected by the privacy

right of third party subscribers. AT&T further objects that the request seeks

materials protected by attorney-client and/or attorney work product privileges. AT&T

further objects that the request seeks the production of information or material that

constitutes confidential, proprietary and/or trade secret information.

      Subject to and without waiving its objections, AT&T will produce non-

privileged and responsive documents that set forth AT&T policies referencing SIM

changes and the prevention of unauthorized access to subscriber accounts, to the

extent such documents exist in AT&T’s possession and can be located pursuant to a

reasonable search.



      9.      All Documents and Communications Concerning AT&T’s policies,
procedures, internal controls, training, or other information Concerning the
protection of its customers’ Data and privacy, including its Privacy Policy and Privacy
Commitments, from January 1, 2007 to the date of this request.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter
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     Case 5:19-cv-00475-BO      Document 58-3      Filed 02/12/21   Page 9 of 19
occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects to the request for materials

concerning subscriber privacy and protection of subscriber data as overly broad and

seeking information that has no probative value to this case. Mr. Williams has not

plausibly alleged any fact or circumstance, and AT&T is aware of no fact or

circumstance, indicating that any of Mr. Williams’s sensitive personal information or

CPNI in AT&T’s possession was disclosed to any person, or that any such information

was used in connection with or facilitated the attacks on Mr. Williams’s third party

accounts or led to the damages Mr. Williams asserts in the complaint. Rather, the

complaint alleges that it was solely the third-party criminals’ “control over [Mr.

Williams’s cellular phone] number” — which is neither sensitive personal data nor

CPNI — that allowed the criminals to log into Mr. Williams’s other accounts. Compl.

¶ 39. The materials sought by the request are therefore not relevant to any of the

claims or defenses in the case, as established by the pleadings, and the burden of

identifying and producing the breadth of those materials is not proportional to the

needs of the case. AT&T also objects to this request, as worded, encompassing

materials that may relate solely to other AT&T subscribers, contain the protected

CPNI of other AT&T subscribers, and concern incidents or occurrences that have no

relevance to or bearing upon the claims or defenses in this case. AT&T further objects

because the requested information is protected against disclosure by applicable

federal and state law and authorities, including by not limited to the Federal

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     Case 5:19-cv-00475-BO     Document 58-3      Filed 02/12/21   Page 10 of 19
Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. §

2707, and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et

seq. AT&T further objects that the request seeks materials protected by the privacy

right of third party subscribers. AT&T further objects that the request seeks

materials protected by attorney-client and/or attorney work product privileges.

AT&T further objects that the request seeks the production of information or material

that constitutes confidential, proprietary and/or trade secret information.

      Subject to and without waiving its objections, AT&T will produce a copy of its

privacy policy(ies) and policies designed to protect subscriber confidential

information and CPNI in effect during the period of unauthorized SIM changes Mr.

Williams alleges in the complaint.



       10.    All Documents and Communications Concerning AT&T’s policies,
procedures, internal controls, training, or other information Concerning AT&T’s
compliance with laws, regulations, consent decrees, and other government mandates
Concerning the protection of its customers’ Data and privacy, from January 1, 2007
to the date of this request.

      RESPONSE: AT&T incorporates and restates its response to Request No. 9.



      11.    All Documents and Communications Concerning AT&T’s policies,
procedures, internal controls, training, or other information Concerning AT&T’s
treatment of Customer Proprietary Network Information (or CPNI), from January 1,
2007 to the date of this request.

      RESPONSE: AT&T incorporates and restates its response to Request No. 9.




                                          10


     Case 5:19-cv-00475-BO      Document 58-3     Filed 02/12/21   Page 11 of 19
      12.     All Documents and Communications Concerning AT&T’s public
statements Concerning SIM Swapping, including information posted on AT&T’s
website, disclosures to legislative, judicial, or regulatory authorities, and information
provided to journalists and/or the press, from January 1, 2007 to the date of this
request.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects to the request for documents

concerning disclosures to legislative, judicial, or regulatory authorities as seeking

materials protected by attorney-client and/or attorney work product privileges. AT&T

further objects to the request for documents concerning disclosures to third parties

as overly broad, vague and ambiguous, as AT&T has no reasonable means to

determine what content or statements would constitute a “disclosure” regarding SIM

swapping in the context of this request. And to the extent this request seeks every

publicly available document AT&T has created or possessed that contains a reference

to an unauthorized SIM change, the request is overly broad in that it seeks potentially

voluminous amounts of irrelevant materials having no bearing on the claims or

defenses in this matter, and the burden of identifying such materials is not

proportional to the needs of this case. Moreover, any responsive public statements

are equally available to Mr. Williams as they are to AT&T.

      Subject to and without waiving its objections, AT&T will produce public

statements made by AT&T in articles or blog posts regarding the proliferation of

                                           11


     Case 5:19-cv-00475-BO       Document 58-3     Filed 02/12/21    Page 12 of 19
efforts by unauthorized persons to effect SIM changes without the subscriber’s

permission, to the extent AT&T can locate same pursuant to a reasonable search.

AT&T will also produce any public statements or articles specifically referencing Mr.

Williams’s lawsuit against AT&T, to the extent AT&T can locate the same pursuant

to a reasonable search.



    13.   All Documents and Communications Concerning agreements between
AT&T and Prime.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects that the request as worded is

overly broad and seeks voluminous amounts of irrelevant materials. For instance, the

majority of documents “concerning” AT&T’s agreement with an authorized retailer

such as Prime would have no connection or relevance to SIM changes, or to any of the

claims or defenses in this case. AT&T further objects that the request seeks materials

protected by attorney-client and/or attorney work product privileges. AT&T further

objects to this request on the basis that it seeks confidential, proprietary and/or trade

secret information.

      Subject to and without waiving its objections, AT&T will produce its authorized

reseller agreement with Prime.



                                           12


     Case 5:19-cv-00475-BO       Document 58-3     Filed 02/12/21    Page 13 of 19
    14.   All Documents and Communications Concerning agreements between
AT&T and Alorica.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects that the request as worded is

overly broad and seeks voluminous amounts of irrelevant materials. For instance, the

majority of documents “concerning” AT&T’s agreement with a support center vendor

such as Alorica would have no connection or relevance to SIM changes, or to any of

the claims or defenses in this case. AT&T further objects that the request seeks

materials protected by attorney-client and/or attorney work product privileges.

AT&T further objects to this request on the basis that it seeks confidential,

proprietary and/or trade secret information.

      Subject to and without waiving its objections, AT&T will produce its call center

agreement with Alorica.



    15.   All Documents and Communications Concerning agreements between
AT&T and Teleperformance.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

                                         13


     Case 5:19-cv-00475-BO     Document 58-3     Filed 02/12/21   Page 14 of 19
relevant to that time period. AT&T further objects that the request as worded is

overly broad and seeks voluminous amounts of irrelevant materials. For instance, the

majority of documents “concerning” AT&T’s agreement with a support center vendor

such as Teleperformance would have no connection or relevance to SIM changes, or

to any of the claims or defenses in this case. AT&T further objects that the request

seeks materials protected by attorney-client and/or attorney work product privileges.

AT&T further objects to this request on the basis that it seeks confidential,

proprietary and/or trade secret information.

      Subject to and without waiving its objections, AT&T will produce its call center

agreement with Teleperformance.



    16.   All Documents and Communications Concerning agreements between
AT&T and Concentrix.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects that the request as worded is

overly broad and seeks voluminous amounts of irrelevant materials. For instance, the

majority of documents “concerning” AT&T’s agreement with a support center vendor

such as Concentrix would have no connection or relevance to SIM changes, or to any

of the claims or defenses in this case. AT&T further objects that the request seeks

materials protected by attorney-client and/or attorney work product privileges.
                                         14


     Case 5:19-cv-00475-BO     Document 58-3     Filed 02/12/21   Page 15 of 19
AT&T further objects to this request on the basis that it seeks confidential,

proprietary and/or trade secret information.

      Subject to and without waiving its objections, AT&T will produce its call center

agreement with Concentrix.


      17.    All Documents and Communications Concerning any meetings,
discussions, or other actions by AT&T’s Board of Directors, Board of Director
committees, or members of AT&T’s Leadership Concerning SIM Swapping, from
January 1, 2007 to the date of this request.

      RESPONSE: AT&T objects to this request as lacking a reasonable temporal

limitation. The complaint alleges the incidents underlying the claims in this matter

occurred “between November 2018 and February 2019” [Dkt. 2 ¶ 20], and AT&T’s

response and production of documents will therefore be limited to information

relevant to that time period. AT&T further objects to the request as seeking

documents protected by attorney-client and/or attorney work product privileges, or

other applicable privileges. AT&T further objects that the request is overly broad and

seeks irrelevant materials, insofar as it seeks every such “Document and

Communication[]” referencing an unauthorized SIM change involving an unrelated

third party or otherwise having no connection to the incidents, claims, or defenses in

this case.

      Subject to and without waiving its objections, AT&T has no documents

responsive to this request.




                                         15


     Case 5:19-cv-00475-BO     Document 58-3      Filed 02/12/21   Page 16 of 19
      18.   All Documents and Communications Concerning each of AT&T’s
Affirmative Defenses.

      RESPONSE:       AT&T objects to this request as overly broad and seeking

irrelevant information. AT&T further objects to the request as seeking documents

protected by attorney-client and/or attorney work product privileges, or other

applicable privileges. AT&T objects to this request on the basis that many documents

concerning AT&T’s Affirmative Defenses are solely in Mr. Williams’s possession.

Subject to and without waiving its objections, AT&T will produce responsive non-

privileged documents in its possession that it can locate pursuant to a reasonable

search.


       19.   All Documents and Communications Concerning Your responses to any
interrogatories served on You in connection this action, including Plaintiff’s First
Interrogatories.

      RESPONSE: AT&T objects to this request as vague and ambiguous, as AT&T

has no reasonable basis to determine which documents Mr. Williams’s may contend

“concern” any of AT&T’s responses to an interrogatory in this matter. AT&T further

objects to this request on the basis that many documents which may concern AT&T’s

response to an interrogatory are solely in Mr. Williams’s possession. AT&T further

objects to the request as seeking documents protected by attorney-client and/or

attorney work product privileges, or other applicable privileges.    Subject to and

without waiving its objections, AT&T will produce responsive non-privileged

documents in its possession that it can locate pursuant to a reasonable search.




                                         16


     Case 5:19-cv-00475-BO     Document 58-3     Filed 02/12/21   Page 17 of 19
                        KILPATRICK TOWNSEND & STOCKTON LLP




                        Joseph S. Dowdy (N.C. State Bar No. 31941)
                        Phillip A. Harris, Jr. (N.C. State Bar No. 39740)
                        4208 Six Forks Road, Suite 1400
                        Raleigh, NC 27609
                        Telephone: (919) 420-1700
                        Facsimile: (919) 510-6120
                        Email: jdowdy@kilpatricktownsend.com
                               pharris@kilpatricktownsend.com

                        Michael Breslin
                        1100 Peachtree St. NE, Suite 2800
                        Atlanta, GA 30309
                        Telephone: (404) 815-6500
                        Facsimile (404) 815-6555
                        Email: mbreslin@kilpatricktownsend.com

                        Counsel for Defendant AT&T Mobility LLC




                                17


Case 5:19-cv-00475-BO   Document 58-3   Filed 02/12/21   Page 18 of 19
                           CERTIFICATE OF SERVICE

      I hereby certify that on date set out below, I served a true copy of the foregoing

DEFENDANT AT&T MOBILITY LLC’S OBJECTIONS AND RESPONSES TO

PLAINTIFF’S       FIRST     SET    OF     REQUESTS       FOR     PRODUCTION          OF

DOCUMENTS TO DEFENDANT by electronic mail, pursuant to the agreement of

counsel for all parties, to all counsel of record and additional persons listed below:

 Terence S. Reynolds                     Christopher LaVigne
 treynolds@shumaker.com                  Christopher.LaVigne@withersworldwide.com
 Lucas D. Garber                         Joe Gallo
 lgarber@shumaker.com                    Joseph.Gallo@withersworldwide.com
 SHUMAKER LOOP & KENDRICK                WITHERS BERGMAN LLP
 LLP                                     430 Park Avenue, 10th Floor
 101 South Tyron Street                  New York, NY 10022
 Suite 2200                              Counsel for Plaintiff Jason Williams
 Charlotte, North Carolina 28280
 Local Civil Rule 83.1(d) Counsel for And to:
 Plaintiff Jason Williams
                                      Lalindar.Sanichar@witherworldwide.com
                                      Laura.Gosheff@withersworldwide.com




      This the 20th day of July, 2020.




                                                Joseph S. Dowdy




                                           18




     Case 5:19-cv-00475-BO      Document 58-3      Filed 02/12/21    Page 19 of 19
